Case 1:17-cv-01167-.]EB Document 58 Filed 02/26/18 Page 1 of 1

AO 450 (Rev 01/09. DC-03/IO) .ludgment m a Civi| Actlon

UNITED STATES DISTRICT CoURT

for the
District of Columbia

CABLE NEWS NETWORK, |NC., et al

 

Plal`ntiff
V.
FEDERAL BUREAU OF |NVESTlGATlON , et al

Civil Action No. 17-1167 (JEB)

 

Defendant

W`/\./\/`/

JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

 

D the plaintiff (name) recover from the
defendant (name) the amount of

v dollars ($ ), which includes prejudgment
interest at the rate of %, plus postjudgment interest at the rate of %, along with costs.

Cl the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

Cl other;

ThlS acflOn WaS (check one)f

CI tried by ajury with Judge presiding, and the jury has
rendered a verdict.

 

ij tried by Judge without ajury and the above decision
was reached.

 

Q( decided by Judge JAMES E. BOASBERG on a motion for
DEFENDANT'S MOT|ON FOR PART|AL SUM|\/|ARY JUDG|\/|ENT

 

Date: w |g ANGELA D. CA S '

 

